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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                  Case No.: 9:16-cv-81798-DMM

                                                      x
  TTT Foods Holding Company LLC,                      :
  a Florida limited liability company,                :
                                                      :
         Plaintiff,                                   :
                                                      :
  v.                                                  :
                                                      :
  BEATRICE NAMM, an individual,                       :
  JONATHAN NAMM, an individual, and                   :
  DELUXE GOURMET SPECIALTIES LLC, a                   :
  New Jersey limited liability company,               :
                                                      :
         Defendants.                                  :
                                                      x

              PLAINTIFF’S RULE 26 DISCLOSURE OF EXPERT WITNESSES

         Pursuant to Federal Rule of Civil Procedure Rule 26(a)(2), Plaintiff, TTT Foods Holding

  Company LLC, hereby submits the following Rule 26(a)(2) Disclosures:

  I.     EXPERT WITNESSES

         William G. King
         WK Financial, LLC
         401 E. Las Olas Blvd., Suite 1400
         Ft. Lauderdale, FL 33301

         William G. King of WK Financial, LLC is expected to testify as an expert in this case with

  regard to the insolvency of Bea’s Brooklyn’s Best LLC and Deluxe Gourmet Specialties LLC, the

  transfers at issue in this case, and amount of, or lack thereof, any value and/or consideration

  provided in exchange for the transfers.

         Discovery is ongoing and incomplete and the Plaintiff reserves the right to amend its expert

  disclosures at any time upon discovery of additional expert witnesses.



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                                  ATTORNEY CERTIFICATION

         I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

  for the Southern District of Florida and I am in compliance with the additional qualifications to

  practice in this Court set forth in Local Rule 2090-1(A).

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

  Notice of Electronic Mail through the Case Management/Electronic Case Filing to those parties

  registered to receive electronic notices of filing in this case on January 6, 2017.

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                                                 By:    /s/ John E. Page
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